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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


   UNITED STATES OF AMERICA,

                            Plaintiff,
            v.                                           Cr. No. 17-20439
                                                         Hon. LAURIE MICHELSON
   LAWRENCE DAVIS,

                     Defendant.
   ______________________________/


                 DEFENDANT’S MOTION TO DISMISS THE INDICTMENT

          NOW COMES the Defendant, Lawrence Davis, by and through his attorney, Andrew

   Densemo, and pursuant to Rule 12(b)(2), F. R. Crim. Pr., and respectfully moves this

   Honorable Court for the entry of an order dismissing the Indictment, with prejudice, and on

   the following grounds:

          1. Counts One of the Indictment charges the Defendant, Lawrence Davis, with

   distribution of a controlled substance and distribution of a controlled substance, death

   resulting, in violation of 21 U.S.C. §841(a) (1) and (b) (1) (C)..

          2. The defense maintains that 21 U.S.C. 841 (b)(1)(C) is unconstitutionally overly

   broad as applied to the current charges. It does not provide citizens like Mr. Davis with

   adequate notice that certain conduct will subject them to severe mandatory minimum and

   possibly life sentences for the unforseen and unintended consequences of their actions.

          3. Assuming arguendo, for the purposes of this motion that the allegations in Count

   One of the Indictment are true, 21 U.S.C. §841(b)(1)(C) is unconstitutional, as applied, and

   violates the Sixth Amendment,Due Process Clause insofar fails to adequately notify citizens

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   that they will be held accountable and prosecuted for the unforseen and unintended

   consequences of actions taken by third, forth, or fifth parties.

             4. 21 U.S.C. §841(b)(1)(C) is overly broad and the offense charged under that

   subsection of the statute in Count One of the indictment should be dismissed.

             5. Pursuant to Local Rules 7.1 and 12.1of the U.S. District Court Eastern District of

   Michigan, there was a conference between attorneys in which movant explained the nature

   of this motion and its legal basis and requested but did not obtain concurrence of the relief

   sought.

             WHEREFORE, the Defendant respectfully prays that this Honorable Court shall

    grant the relief requested in toto, and such other and further relief as this Court shall deem

   just, equitable, and proper.

                                                   Respectfully submitted,

                                                   LEGAL AID & DEFENDER ASS’N INC.

                                                   FEDERAL DEFENDER OFFICE


                                                   s/ ANDREW DENSEMO
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                                                   P 37583

   Dated: September 25, 2017




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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


   UNITED STATES OF AMERICA,

                      Plaintiff,
          v.                                Cr. No. 17-20439
                                            Hon. LAURIE MICHELSON
   LAWRENCE DAVIS,

                     Defendant.
   _____________________________/


     DEFENDANT’S MEMORANDUM OF LAW IN SUPPORT OF MOTION TO
                    DISMISS THE INDICTMENT
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                                STATEMENT OF THE CASE

          On June 27, 2017, an indictment was filed in the United States District Court for the

   Eastern district of Michigan, alleging that the Defendant violated 21 U.S.C. §842(a)(1)() and

   (b)(1)(C) .

          The indictment alleges that on or about September 19, 2016 Lawrence Davis

   distributed a controlled substance in violation and that on or about September 19-20, the

   death of another person, C.V., “resulted from the use of the controlled substance so

   distributed by LAWRENCE DAVIS.”
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                     STATEMENT OF THE ISSUES PRESENTED



    (1) THE STATUTE WHICH CRIMINALIZES DISTRIBUTION OF A CONTROLLED

   SUBSTANCE,      DEATH     RESULTING,     21   U.S.C.   §841(b)(1)(C),   IS

   UNCONSTITUTIONAL, AS APPLIED, IN A CASE IN WHICH THE DEFENDANT DID

   NOT DIRECTLY DISTRIBUTE DRUGS TO THE DECEDENT AND HAD NO REASON

   TO BELIEVE THAT DRUGS WOULD BE GIVEN TO ANOTHER OR THAT THE

   DRUGS WERE TAINTED IN ANY WAY.



    (2) 21 U.S.C. 841(b)(1)(C) IS UNCONSTITUTIONAL BECAUSE IT IS OVERLY

   BROAD AND/OR VOID FOR VAGUENESS
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                                            ARGUMENT

           THE DEFENDANT IS ENTITLED TO AN ORDER DISMISSING
           COUNT 1 OF THE INDICTMENT, PURSUANT TO RULE
           12(b)(2), F. R. CRIM. PROC.

           This Motion is brought under the aegis of Rule 12(b)(2), F. R. Crim. Pr., which

   provides in relevant part, as follows:

           Rule 12.        Pleadings and Motions Before Trial; Defenses and
                           Objections

                                                  ***
           (b) Pretrial Motions. Any defense, objection, or request which is capable
           of determination without the trial of the general issue may be raised before
           trial by motion. Motions may be written or oral at the discretion of the judge.
           The following must be raised prior to trial:

                                                   ***

           (2) Defenses and objections based on defects in the indictment or information
           (other than it fails to show jurisdiction in the court or to charge an offense
           which objections shall be noticed by the court at any time during the pendency
           of the proceedings)….

   Rule 12(b)(2), F. R. Crim. Pr. is the proper and appropriate vehicle for attacking the

   constitutionality of the statute under which the alleged criminal offense has been brought.

   Cf. United States v. Jones, 542 F. 2nd 661, 664 (6th Cir. 1976) (“Generally, motions are

   capable of determination before trial if they raise questions of law rather than fact.”); United

   States v. Martinez, 350 F. Supp. 971, 973 (W.D. Penna. 1972) (held, any defense which does

   not require a determination by the jury may be properly raised by a motion to dismiss);

   United States v. Forrester, 105 F. Supp. 136, 137 (N.D. Ga. 1952) (constitutional challenge

   to the validity of Wagering Tax Act properly raised by a motion to dismiss).

           It is axiomatic that, for the purposes of the instant motion, all of the well-pleaded

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   allegations of the Indictment are taken to be true. United States v. Fry, 413 F. Supp. 1269,

   1272 (E.D. Mich. 1976) (“For purposes of this motion, the allegations of the indictment must

   be accepted as true.”); Universal Milk Bottle Service v. United States, 85 F. Supp. 622, 625

   (S.D. Ohio 1949), aff’d, 188 F. 2nd 959, 961; 962-963 (6th Cir. 1951)(per curiam); United

   States v. Lattimore, 94 U.S. App. D.C. 268; 215 F. 2nd 847 (1954).

          However, assuming arguendo that all of the allegations in the Indictment, are true,

   it is clear that the reach of 21 U.S.C. §841(b)(1)(C) is too broad, because it

   unconstitutionally deprives citizens of Due Process of law because it does not provide fair

   notice of what conduct is prohibited and it proscribes punishment without regard to intent,

   causation or any superceding intervening cause or causes.

                          THE STATUTE IN QUESTION IS SUBJECT
                          TO REVIEW UNDER THE “STRICT SCRUTINY”
                          STANDARD OF CONSTITUTIONAL REVIEW

          Statutes which impinge upon fundamental Constitutional rights are subject to review

   under the “strict scrutiny” standard. The “strict scrutiny” standard of review means that: (1)

   a reviewing Court will not defer to Legislative judgment, but will make an independent

   determination of the Constitutionality of the challenged statute; (2) that the challenged

   statute will not be sustained simply because it advances some Governmental interest, but

   must be shown to foster a compelling or overriding Governmental interest; (3) even if the

   Government can demonstrate the existence of such a compelling interest, the statute must

   be narrowly tailored to fulfill those Legislative ends; and (4) where Constitutional rights

   which have been designated by the Supreme Court as “fundamental rights” are concerned,

   virtually any infringement is sufficient to invalidate the statute, either “on its face” or “as

   applied.” See, Lawrence v. Texas, 539 U.S. 558; 123 S. Ct. 2472; 156 L. Ed. 2nd 508 (2003).

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           Clearly, the Fifth Amendment, U.S. Const. (1787), Amend. V (1791), meets the test

   that it is “implicit in the concept of ordered liberty,” Palko v. Connecticut, 302 U.S. 318,

   325; 58 S. Ct. 149; 82 L. Ed. 288 (1937), and that it is so deeply “rooted in the traditions and

   conscience of our people as to be fundamental.” Snyder v. Massachussetts, 291 U.S. 97, 105;

   54 S. Ct. 330; 78 L. Ed. 674; 90 A.L.R. 575 (1933). As noted in the body of the instant

   motion, the Supreme Court has ranked “the right to keep and bear arms” with “the right to

   freedom of speech, press, and religion” and the right to be free from unreasonable searches

   and seizures and has adopted the proposition that the rights guaranteed by the Second

   Amendment are a part of “the essential and inseparable features of English liberty.” Justice

   Story has referred to the Second Amendment “right to keep and bear arms” as “the

   palladium of the liberties of a republic.” 3 Joseph Story, Commentaries (1833), §1890, p.

   746. See also, Don Kates, Handgun Prohibition and the Original Meaning of the Second

   Amendment, 82 Mich. L. Rev. 204 (1983); Comment, It Isn’t About Duck Hunting: The

   British Origin of the Right to Keep and Bear Arms, 93 Mich. L. Rev. 1333 (1995).

           Given the application of “strict scrutiny” to the statute in question, it is clear that the

   statute is so far reaching that it includes conduct like simply sharing drugs, accidentally

   providing drugs to another, and assessing strict liability to everyone in the distribution chain

   without regard to intent, knowledge or motive. Here, the Defendant is being held responsible

   for the accidental death of another person, despite not having dealt the individual, and a third

   party actually supplied the drugs to the other person, and having no knowledge that the drugs

   were tainted.

           Because the statute draws no distinction between those who knowingly adulterate

   controlled substances without regard to the risk of harm and those who do not, its reach is

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   overbroad; it is not narrowly tailored to reasonably serve compelling Governmental interests.

   In consequence, the statute, as applied, fails “strict scrutiny” review and fails to pass

   Constitutional muster.

   DUE PROCESS VIOLATION

            The Due Process Clause of the Fifth Amendment guarantees that no person shall be

   deprived of life, liberty, or property without due process of law. U.S. Const. Amend. V. Due

   Process places some limits on the Government’s regulation of so-called public welfare

   concerns such as the possession of weapons and the use of violence. See Lambert v.

   California, 355 U.S. 225, 229 (1958); Stepniewski v. Gagnon, 732 F.3d 567, 573 (7th Cir.

   1984).

            Ingrained in our concept of due process is the requirement of notice; notice is

   required before property interests are disturbed, before assessments are made or before

   penalties are assessed. Lambert, 355 U.S. at 228. The fair warning principle embodied in

   the due process requirement is fundamental to our concept of constitutional liberty and is

    based on the underlying principle that no man should be held criminally responsible for

   conduct which he could not reasonably understand to be proscribed. United States v. Harris,

   347 U.S. 612, 617 (1954); Marks v. United States, 430 U.S. 188, 191 (1977).

            Section 841(b)(1)(C) is constitutionally infirm because it does not comport with the

   due process/fair warning principles embodied in the Fifth Amendment. This statute does not

   adequately notify a defendant that he is committing a federal crime through their attenuated

   connection to a distribution chain that may result in the death of another . Additionally,

   section 841(b)(1)(C) is over broad and void for vagueness because the terms ‘if death or

   serious bodily injury results from the use of such substance” is vague and ambigous. A

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    statute is facially over broad if due to its mere existence it deters individuals from doing

    activities which are lawful and protected by the constitution. Broadrick v. Oklahoma, 413

    U.S. 601, 612 (1973). The specific actions of the individual need not be lawful but the

    statute must have the potential to be applied to prevent others from exercising constitutional

    rights. Id. Sections 922 (a)(1)(A) is clearly facially overbroad when scrutinized under the

    Broadrick standard and the approach set out in Hoffman Estates v. Flipside, 455 U.S. 489,

    494-495 (1982). Hoffman directs that the statute must first be analyzed to determine

    whether, on its face, it is overbroad. Id. Section 841(b)(1)9C) is overbroad because even

    the private sharing of controlled substances would trigger operation of the statute. The

    potentiality for what constitutes distribution that cause the death or serious bodily injury

    from the use of such substance is so broad that virtually anyone that touches a controlled

    substance that is passed along to any number of people comes within the purview of the

    statute. Thus the statute is overbroad and fails to notify the public that this is a strict liability

    offense and that there is no knowledge or intent required to committ it. Clearly then it is

    unconstitutionally overbroad and the criminal charges leveled against Mr. Davis based on

    this statute should be dismissed.

                           CONCLUSION AND RELIEF REQUESTED

            The Fifth Amendment’s Due Process is a constitutional guarantee that applies with

    equal force to all U.S. citizens. It’s notice requirement is one of the fundamental principle

    embedded in the U.S. Constitution..          Section 841(b)(1)(C) is overbroad because             it

    criminalizes conduct which is constitutionally protected in addition to that which is not.

            Wherefore, for all of the reasons stated herein, the Defendant respectfully prays that

    this Honorable Court will grant his motion and dismiss Count One of the indictment.

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                                       Respectfully submitted,

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    Dated: September 28, 2017




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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


    UNITED STATES OF AMERICA,

                         Plaintiff,                  CR. NO. 17-20439
           v.
                                                     HON. LAURIE MICHELSON
    LAWRENCE DAVIS,

                         Defendant.
                                           /



                               CERTIFICATE OF SERVICE

    I, hereby certify that on October 6, 2017, I electronically filed the foregoing paper
    with the Clerk of the Court using the ECF system which will send notification of such
    filing to the following:

                                       Mark Bilkovic
                                       Assistant U.S. Attorney
                                       211 W. Fort St., Ste. 2001
                                       Detroit, MI 48226


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